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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Energy Future Holdings, Inc., e¢ al. Case No. 14-10979 (CSS)
(Jointly Administered)

Debtors.

CERTIFICATE OF SERVICE

[ hereby certify that on August 7, 2014, I caused to be served a copy of the United States
Trustee’s Response to Motion of EFH Notes Indenture Trustee for Appointment of EFH Corp.

Official Committee of Unsecured Creditors (D. I. 1676), via email, fax and/or regular mail upon

the parties listed below.

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